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United States District Court

District of Maryland
UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE
» (F or Revocation With Supervised Release)
V- ` (For Offenses Committed On or After November l,
1987)
ANTOINE STEVENSON ease Number: ELH-1-12-00164-001

USM Number: N/A
Defendant’s Attorney: Andrew Szekely, AFPD
Assistant U.S. Attorney: John Sippel

THE DEFENDANT:
admitted guilt to violation no. l of the term of Petition on Supervised Release.
El was found in violation of condition(s) after denial of guilt.
Violation Number Nature of Violation Date Violation Occurred
1 Defendant failed to notify officer of address
change.

The defendant is adjudged guilty of the violation(s) listed above and sentenced as provided in pages 2
through 4 __ of this judgment The sentence is imposed pursuant to the Sentencing Reform Act of 1984 as
modified by United States v. Booker, 543 U.S. 220 (2005).

|:| Supervised release is revoked.
|:| The defendant has not violated condition(s) and is discharged as to such violation(s) condition

~ IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district

within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are idlly paid.

September l'/Yq 2018
Date of Imposition of Judgment

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Ellen L. Hollander Date
United States District Judge

Name of Court Reporter: Mary Zajac

 

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DEFENDANT: ANTOINE STEVENSON CASE NUMBER: ELH-l~12-00164-00]

IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned
for a total term of TIME SERVED

l:l The court makes the following recommendations to the Bureau of Prisons:

13 The defendant is remanded to the custody of the United States Marshal.
E The defendant shall surrender to the United States Marshal for this district:

l:| at a.m./p.m. on
l] as notified by the United States Marshal.

E The defendant shall surrender, at his/her own expense, to the institution designated by the Bureau of Prisons
at the date and time specified in a written notice to be sent to the defendant by the United States Marshal. If
the defendant does not receive such a Written notice, defendant shall surrender to the United States Marshal:

l:l before 2 p.m. on ____
A defendant who fails to report either to the designated institution or to the United States Marshal as
directed shall be subject to the penalties of Title 18 U.S.C. §3146. If convicted of an offense while on
release, the defendant shall be subject to the penalties set forth in 18 U.S.C. §3147. For violation of a
condition of release, the defendant shall be subject to the sanctions set forth in Title 18 U.S.C. §3148. Any
bond or property posted may be forfeited and judgment entered against the defendant and the surety in
the full amount of the bond. ‘

RETURN

I have executed this judgment as follows:

Defendant delivered on to . at , with a certified copy of this judgment.

 

_UNITED STATES MARSHAL

By:

 

DEPUTY U.S. MARSHAL

 

 

 

 

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DEFENDANT; AN'roiNs sT.EvnNsoN CAsE NUMBER: ELH-1-12-00164-001
SUPERVISED RELEASE

Upon release from imprisonment, the defendant shall be continued on supervised release.
The defendant shall comply with all of the following conditions:

The defendant shall report to the probation office in the district to which the defendant is released within 72
hours of release from the custody of the Bureau of Prisons.

A. MANDATORY CONDITIONS

l) You must not commit another federal, state or local crime.

2) You must not r.rnlawfnlly possess a controlled substance

3) You must refrain from any unlawful use cfa controlled substance You must submit to one drug test within 15 days of release
from imprisonment and at least two periodic drug tests thereafter, as determined by the court.

|:l The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future substance
abuse. (check ry`applr'cable)

4) l:| You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution fcheck rfapplr`cable)

5) You must cooperate in the collection of DNA as directed by the probation officer.

6) El You must comply with the requirements of the Sex Otfender Regisrration and Notitication Act (34 U.S.C. § 20901, et seq.)
as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work are a student, or were convicted of a qualifying offense (check ifapplfcable)

7) l:l You must participate in an approved program for domestic violence. (check ifapplicable) .

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
attached page - '

B. STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision These conditions are _
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep infonned, report to the court about, and bring about improvements in your conduct and condition

1) You must report to ':`r_-E probation office in the federal judicial district where you are authorized to reside within 72 hours of your
` release frorr. irnprisonrnent, unless the probation officer instructs you to report to a different probation office or within a different
time frame

2) After initially reporting to the probation office, you will receive instructions fi'orn the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed

3) You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.

4) You must answer truthfully the questions asked by your probation officer.

5) You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. lf
notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change

6) You must allow the probation officer to visit you at any time at your horne or elsewhere, and you must permit the probation
officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view. .

7) You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
from doing so. lf you do not have full-time employment you must try to find full-time employment, unless the probation officer
excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or yourjob
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at
least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours
of becoming aware of‘a change or expected change.

8) You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
the probation officer

 

 

 

 

 

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DEFENDANT: Af‘iTOINE STEVENSON CASE NUMBER: ELH-l-12-00164-001

9) lf you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10) You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designcd, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).

ll) You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.

12) If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction The probation officer may contact the
person and confirm that you have notified the person about the risk. ‘

13) You must follow the instructions of the probation officer related to the conditions of supervisionl

C. SUPERVISED RELEASE
ADDITIONAL CONDITIONS

l. You must participate in a vocational services program and follow the rules and regulations of
that program Sr.rch a program may include job readiness training and skills development
training "

2. You must participate in a mental health treatment program and follow the rules and
regulations of that program The probation officer, in consultation with the treatment provider,
will supervise your participation in the program (provider, location, modality, duration,
intensity, etc.}.

3. You must participate in a substance abuse treatment program and follow the rules and
regulations of that program. The probation officer will supervise your participation in the
program (provider, location, modality, duration, intensity, etc.). `

4. You must submit to substance abuse testing to determine if you have used a prohibited
substance "-‘."'cu must not attempt to obstruct or tamper with the testing methods.

5. You must participate in an educational services program and follow the rules and regulations
of that program. Such programs may include high school equivalency preparation, English as a
Second Larr.auage classes, and other classes designed to improve your proficiency in skills such
as reading, ‘»Nriting,, mathematics, or computer use.

U.S. Probation Q=r't“r`ce Usa -Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this

judgment containing these zonditions. For further information regarding these conditions, see Overvr`ew ofProbatr`on and Supervisea'
Release Cona'r`r£;~.rrr. available at: www.uscourts.gov.

Defendant‘s Sign;=rture Date

 

